                                         Case 5:11-cv-01846-LHK Document 3761 Filed 05/16/18 Page 1 of 3




                                   1

                                   2

                                   3

                                   4

                                   5

                                   6

                                   7

                                   8                                  UNITED STATES DISTRICT COURT
                                   9
                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                  10
                                                                               SAN JOSE DIVISION
                                  11

                                  12    APPLE INC.,                                           Case No. 11-CV-01846-LHK
Northern District of California
 United States District Court




                                  13                   Plaintiff,                             VERDICT FORM
                                  14            v.

                                  15    SAMSUNG ELECTRONICS CO. LTD.,
                                        et al.,
                                  16              Defendants.
                                  17

                                  18          We, the jury, unanimously agree to the answers to the following questions and return them
                                  19
                                       under the instructions of this Court as our verdict in this case.
                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28                                                      1
                                       Case No. 11-CV-01846-LHK
                                       VERDICT FORM
                                         Case 5:11-cv-01846-LHK Document 3761 Filed 05/16/18 Page 2 of 3




                                   1                           FINDINGS ON APPLE’S DAMAGES CLAIMS
                                   2
                                       1. What is the total dollar amount that Apple is entitled to receive for Samsung’s infringement of
                                   3   the D’677, D’087, and D’305 patents?
                                   4             $                                                  .
                                   5
                                       2. For the total dollar amount in your answer to Question 1, please provide the dollar breakdown
                                   6   by product.
                                   7                  Samsung Product                    Damages for Infringement of
                                                                                        D’677, D’087, and D’305 Patents
                                   8       Captivate (JX 1011)
                                   9       Continuum (JX 1016)
                                  10       Droid Charge (JX 1025)

                                  11       Epic 4G (JX 1012)

                                  12       Fascinate (JX 1013)
Northern District of California
 United States District Court




                                           Galaxy S 4G (JX 1019)
                                  13
                                           Galaxy S II (AT&T) (JX 1031)
                                  14
                                           Galaxy S II (Epic 4G Touch) (JX 1034)
                                  15
                                           Galaxy S II (Skyrocket) (JX 1035)
                                  16
                                           Galaxy S II (T-Mobile) (JX 1033)
                                  17
                                           Galaxy S Showcase (JX 1017)
                                  18
                                           Gem (JX 1020)
                                  19       Indulge (JX 1026)
                                  20       Infuse 4G (JX 1027)
                                  21       Mesmerize (JX 1015)
                                  22       Vibrant (JX 1010)

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28                                                    2
                                       Case No. 11-CV-01846-LHK
                                       VERDICT FORM
                                         Case 5:11-cv-01846-LHK Document 3761 Filed 05/16/18 Page 3 of 3




                                   1   3. What is the total dollar amount that Apple is entitled to receive for Samsung’s infringement of
                                       the ’381 and ’163 patents?
                                   2
                                                 $                                                  .
                                   3

                                   4   4. For the total dollar amount in your answer to Question 3, please provide the dollar breakdown
                                       by product.
                                   5
                                                      Samsung Product                  Damages for Infringement of ’381
                                   6                                                          and ’163 Patents
                                           Captivate (JX 1011)
                                   7
                                           Continuum (JX 1016)
                                   8
                                           Droid Charge (JX 1025)
                                   9
                                           Epic 4G (JX 1012)
                                  10
                                           Fascinate (JX 1013)
                                  11       Galaxy S 4G (JX 1019)
                                  12       Galaxy S II (AT&T) (JX 1031)
Northern District of California
 United States District Court




                                  13       Galaxy S II (T-Mobile) (JX 1033)
                                  14       Gem (JX 1020)

                                  15       Indulge (JX 1026)

                                  16       Infuse 4G (JX 1027)

                                  17       Mesmerize (JX 1015)
                                           Vibrant (JX 1010)
                                  18
                                  19

                                  20

                                  21

                                  22   Have the presiding juror sign and date this form.
                                  23

                                  24

                                  25   Signed:__________________________________ Date:______________________________
                                  26
                                  27

                                  28                                                       3
                                       Case No. 11-CV-01846-LHK
                                       VERDICT FORM
